      Case 2:21-mj-05270-DUTY Document 4 Filed 11/17/21 Page 1 of 5 Page ID #:24


                                                                                   C4l1RT

 1   TRACY L. WILKISON
     Acting United States Attorney                                NOV ~ 72021
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
                                                          CENTRAL GI51~iICT OF CALI ~C~".i l
 3   Chief, Criminal Division                             ~Y         I ~/         DEPU ~ Y
     JUAN M. RODRIGUEZ (Cal. Bar No. 313284)
 4   Assistant United States Attorney
     General Crimes
 5        1200 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-0304
 7        Facsimile: (213) 894-0141
          E-mail:    juan.rodriguez@usdoj.gov
8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. 21-MJ-05270-DUTY

13              Plaintiff,                   GOVERNMENT'S NOTICE OF REQUEST FOR
                                             DETENTION
14                   v.

15   EDWARD BADALIAN,

16              Defendant.

17

18        Plaintiff, United States of America, by and through its counsel

~~~ of record, hereby requests detention of defendant and gives notice of

20   the following material factors:

21        1.    Temporary 10-day Detention Requested (~ 3142(d)) on the

22              following grounds:

23             a.   present offense committed while defendant was on release

24                  pending (felony trial),

25             b.   defendant is an alien not lawfully admitted for

26                  permanent residence; and

27

28
       Case 2:21-mj-05270-DUTY Document 4 Filed 11/17/21 Page 2 of 5 Page ID #:25




 1              c.    defendant may flee; or

 2              d.    pose a danger to another or the community.

 3         2.    Pretrial Detention Requested (~ 3142(e)) because no

 4               condition or combination of conditions will reasonably

 5               assure:

 6               a.    the appearance of the defendant as required;

 7               b.    safety of any other person and the community.

 8     ❑   3.    Detention Requested Pending Supervised Release/Probation

 9               Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.

10               § 3143(a))

11               a.    defendant cannot establish by clear and convincing

12                     evidence that he/she will not pose a danger to any

13                     other person or to the community;

14               b.    defendant cannot establish by clear and convincing

15                     evidence that he/she will not flee.

16         4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.

17               ~ 3142(e)):

18               a.    Title 21 or Maritime Drug Law Enforcement Act (~~MDLEA")

19                     (46 U.S.C. App. 1901 et seq.) offense with 10-year or

20                     greater maximum penalty (presumption of danger to

21                     community and flight risk);

.
P Y~             b.    offense under 18 U.S.C. ~§ 924(c), 956(a), 2332b, or

23                     2332b(g)(5)(B) with 10-year or greater maximum penalty

24                     (presumption of danger to community and flight risk);

25         ~'    c.    offense involving a minor victim under 18 U.S.C.

26                     §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

27                     2251A, 2252(a)(1)-(a)(3), 2252A(a)(1)-2252A(a)(4),           ~,

28
       Case 2:21-mj-05270-DUTY Document 4 Filed 11/17/21 Page 3 of 5 Page ID #:26




  1                   2260, 2421, 2422, 2423 or 2425 (presumption of danger

 2                    to community and flight risk);

  3             d.    defendant currently charged with an offense described

  4                   in paragraph 5a - 5e below, AND defendant was

 5                    previously convicted of an offense described in

 6                    paragraph 5a - 5e below (whether Federal or

 7                    State/local), AND that previous offense was committed

 8                    while defendant was on release pending trial, AND the

 9                    current offense was committed within five years of

10                    conviction or release from prison on the above-

11                    described previous conviction (presumption of danger to

12                    community).

13         5.   Government Is Entitled to Detention Hearing Under ~ 3142(f)

14              If the Case Involves:

15              a.    a crime of violence (as defined in 18 U.S.C.

16                    ~ 3156(a)(4)), a violation of 18 U.S.C. § 1591, or

17                    Federal crime of terrorism (as defined in 18 U.S.C.

EE:3                  ~ 2332b(g)(5)(B)) for which maximum sentence is 10

19                    years' imprisonment or more;

20              b.    an offense for which maximum sentence is life

21                    imprisonment or death;

22              c.    Title 21 or MDLEA offense for which maximum sentence is

23                    10 years' imprisonment or more;

P
.L!             d.    any felony if defendant has two or more convictions for

25                    a crime set forth in a-c above or for an offense under

26                    state or local law that would qualify under a, b, or c

27

28

                                           3
      Case 2:21-mj-05270-DUTY Document 4 Filed 11/17/21 Page 4 of 5 Page ID #:27




 1                   if federal jurisdiction were present, or a combination

 2                   or such offenses;

 3             e.    any felony not otherwise a crime of violence that

 4                   involves a minor victim or the possession or use of a

 5                   firearm or destructive device (as defined in 18 U.S.C.

 6                   § 921), or any other dangerous weapon, or involves a

 7                   failure to register under 18 U.S.C. § 2250;

 8             f.    serious risk defendant will flee;

 9             g.    serious risk defendant will (obstruct or attempt to

10                   obstruct justice) or (threaten, injure, or intimidate

11                   prospective witness or juror, or attempt to do so).

12   ❑    6.   Government requests continuance of              days for detention

13             hearing under § 3142(f) and based upon the following

14             reason(s):

15

16

17

18

19   //
20   //

21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //

                                          4
      Case 2:21-mj-05270-DUTY Document 4 Filed 11/17/21 Page 5 of 5 Page ID #:28




 1    ❑   7.   Good cause for continuance in excess of three days exists in

 2             that:

 3

 4

 5

 6

 7

 8    Dated: November 17, 2021            Respectfully submitted,
 9                                        TRACY L. WILKISON
                                          United States Attorney
10
                                          SCOTT M. GARRINGER
11                                        Assistant United States Attorney
                                          Chief, Criminal Division
12

13                                              /S/
                                          JUAN M. RODRIGUEZ
14                                        Assistant United States Attorney
15                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
16

17

~:~

19

20

21

22

23

24

25

26

27

28

                                          5
